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                                                              USDC SDNY
UNITED STATES DISTRICT COURT                                  DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                 ELECTRONICALLY FILED
 ------------------------------------------------------X      DOC #: _________________
                                                       :                        ry 11, 017
                                                              DATE FILED: ______________
 KELLY PRICE,                                          :
                                                       :
                                      Plaintiff,       :   15 Civ. 5871 (KPF)
                                                       :
                       v.                              :        ORDER
                                                       :
 THE CITY OF NEW YORK, et al.,                         :
                                                       :
                                      Defendants. :
                                                       :
 ----------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       On December 2, 2016, the Court directed Plaintiff to file a Fourth

Amended Complaint (the “FAC”), for the specific purpose of naming the Jane

and John Doe Defendants identified by the City of New York as Inspector Obe

and Selvena Brooks. (Dkt. #38). The Court instructed Plaintiff that she was

not to use the FAC to “add back” into this litigation “those claims and those

parties that have been dismissed from this litigation” in the Court’s December

2 Order and those preceding it. (Id.).

       On January 3, 2017, Plaintiff Kelly Price filed the FAC. (Dkt. #41).

However, the FAC fails to comply with the Court’s December 2 Order because it

attempts to add back into this litigation previously terminated Defendants

Linda Simmons, Maria Strohbehn, Kenya Wells, Audrey Moore, Larry Newman,

Laura Higgins Richendorfer, Cyrus Vance, Jr., Rose Pierre-Louise, Matthew

Winters, P.O. Relf, P.O. Maladano, P.O Jane Doe, Jane Doe Assistant District

Attorney, and John Doe Assistant District Attorney. Accordingly, the Clerk of
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Court is directed to strike this improper pleading. The Court hereby deems

Plaintiff’s Third Amended Complaint (Dkt. #21), the operative Complaint in this

litigation. The parties remaining in this action are those named therein and

not previously terminated: The City of New York and the John Doe Police

Officers.

      To effectuate the specific amendment permitted by the Court in its

December 2 Order, the Court will exercise its powers pursuant to Federal Rule

of Civil Procedure 21 and substitute Inspector Olufunmilo F. Obe and Selvena

Brooks for Defendants John Doe Operator of @NYPD28PCT Twitter Account

and John Doe Operator of @NYCagainstAbuse Twitter Account, respectively.

See Fed. R. Civ. P. 21 (“On motion or on its own, the court may at any time, on

just terms, add or drop a party.”).

      The Court believes the City to be working with Plaintiff to identify the

still-unnamed individuals. (See Dkt. #37). The City is directed to advise

Plaintiff or the Court of the identities of these individuals on or before January

31, 2017. At that time, the Court requests that the City also advise the Court

as to its intentions regarding the future of this case. Plaintiff is again reminded

that if she does not provide the additional information that the City needs to

identify these individuals, it may not be possible for her to pursue her claims

against them.

      SO ORDERED.

Dated:       January 11, 2017
             New York, New York              __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge

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A copy of this Order was mailed by Chambers to:


  Kelly Price
  534 W. 187th Street Apt. 7
  New York, New York
  10033
